          Case 1:21-cr-10149-LTS Document 11 Filed 05/19/21 Page 1 of 2




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                             )
                                                     )
v.                                                   )
                                                     )       Criminal No. 21-cr-10149-LTS
1. GEORGE FINCH,                                     )
                                                     )
                       Defendants.                   )
                                                     )

          ASSENTED TO MOTION FOR ENTRY OF A PROTECTIVE ORDER

       Pursuant to Rule 16 of the Federal Rules of Criminal Procedure and Local Rule 116, the

United States hereby submits a proposed protective order—attached as Exhibit A—relating to

documents and information to be produced in this case and respectfully requests that the Court

enter the attached order as to the above captioned defendant. As grounds for this motion, the

government states as follows.

       The charges pursued in the Information in this case requires production of discovery that

includes personal identifying information, law enforcement sensitive materials, financial and

payroll records, telephone records, materials that may identify cooperating witnesses, and

information regarding security measures (alarms) present in state and local buildings, among

other sensitive materials.

       The proposed protective order is necessary because of the sensitive nature of such

information, which includes personal identification information of defendants and also third

parties who are not associated with this litigation. The courts have specifically noted the

importance of taking measures to protect personal identification information from unnecessary or

unwarranted disclosure. See, e.g., Local Rule 5.3; Fed. R. Crim. P. 49.1.

       The attached proposed protective order seeks to establish additional protections in light of

the circumstances of this case.

                                                 1
          Case 1:21-cr-10149-LTS Document 11 Filed 05/19/21 Page 2 of 2




       Similar protective orders have been entered in several cases in this District (including

another case in which members of the same Boston Police Unit have been charged with similar

crimes as well as in matters in which members of the Massachusetts State Police were charged

with similar crimes). See United States v. Torigian et al, 20-cr-10164-NMG, Dkt. No. 65-66;

United States v. McAuliffe, 19-cr-10056-DJC, Dkt. No. 14 (Dec. 14, 2018) (M.J. Cabell); United

States v. DeJong, 18-cr-10307-MLW, Dkt. No. 27 (Oct. 24, 2018) (M.J. Cabell); United States v.

Wilson, 18-cr-10290-RGS, Dkt. No. 35 (Oct. 10, 2018) (M.J. Cabell). See also United States v.

Joyce, Dkt. No. 45 (February 22, 2018); United States v. Thomas Corliss, No. 16-CR-10250-

LTS, Dkt. No. 34 (Feb. 7, 2017) (M.J. Bowler).

       The above captioned defendant assents to the terms of the government’s proposed

protective order.

       WHEREFORE, the United States respectfully requests that this Court enter the proposed

protective order attached hereto as Exhibit A.


                                              Respectfully submitted,

                                              NATHANIEL R. MENDELL
                                              ACTING UNITED STATES ATTORNEY

                                      By:     /s/ Mark J. Grady
                                              Mark J. Grady
                                              Assistant U.S. Attorney

                                     Certificate of Compliance
        The government has conferred with defense counsel and the parties are agreed on the
terms of the protective order.
                                                /s/ Mark J. Grady
                                                Mark J. Grady, Assistant U.S. Attorney
                                        Certificate of Service
        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF).
                                                /s/ Mark J. Grady
                                                Mark J. Grady, Assistant U.S. Attorney
Dated: May 19, 2021

                                                 2
